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 9                              UNITED STATES DISTRICT COURT

10                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

11                                 SAN FRANCISCO DIVISION

12    AMERICAN FEDERATION OF                       Case No. 3:25-cv-01780-WHA
13    GOVERNMENT EMPLOYEES, AFL-CIO;
      AMERICAN FEDERATION OF STATE                 [PROPOSED] ORDER GRANTING
14    COUNTY AND MUNICIPAL EMPLOYEES,              PLAINTIFFS’ MOTION TO SHORTEN
      AFL-CIO, et al.,                             TIME TO HEAR PLAINTIFFS’ MOTION
15                                                 FOR LEAVE TO AMEND COMPLAINT;
             Plaintiffs,                           LEAVE TO JOIN NEW PLAINTIFFS TO
16                                                 PRELIMINARY INJUNCTION MOTION;
        v.                                         AND LEAVE TO FILE ADDITIONAL
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                                                   DECLARATION EVIDENCE
18    UNITED STATES OFFICE OF PERSONNEL
      MANAGEMENT, et al.,
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             Defendants.
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     [PROPOSED] ORDER GRANTING PLS’ MOT TO SHORTEN TIME, No. 3:25-cv-01780-WHA
     Case 3:25-cv-01780-WHA           Document 50-2       Filed 03/04/25     Page 2 of 2




 1                                        [PROPOSED] ORDER

 2          Good cause having been shown, the Court grants Plaintiffs’ Motion to Shorten Time to Hear

 3   Plaintiffs’ Motion for Leave to Amend Complaint, to Join New Plaintiffs to Preliminary Injunction

 4   Motion, and to File Additional Declaration Evidence (“Plaintiffs’ Motion for Leave”). Any

 5   opposition to Plaintiffs’ Motion for Leave is due on March 6, 2025. The Court will decide the

 6   motion on the papers.

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 8   IT IS SO ORDERED.

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10   Dated: _____________________, 2025          ________________________________
                                                 The Honorable William H. Alsup
11                                               United States District Court Judge
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     [PROPOSED] ORDER GRANTING PLS’ MOT TO SHORTEN TIME, No. 3:25-cv-01780-WHA                   1
